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December 16, 2016

Honorable Michael A. Hammer, U.S.M.J. Nichoee A Seanone
District Court of New Jersey Richard Jared Stepp
Martin Luther King Jr. Building & US Courthouse Cres
50 Walnut Street Abigail D. Kahi
Newark, NJ 07601 Mark P. Denbeaux*

*Admitted in NJ and NY
**Admitted in NJ, NY, and CA
RE: Dattilio v. Wells

Civil Action No.: 2:15-cv-08510-MCA-MAH
Dear Judge Hammer:

This office represents Defendant Joanne Wells. As Your Honor is

aware, there is a settlement conference scheduled for December
19, 2016.

There are two issues open between the parties. The first is the
additional discovery that Plaintiff wishes to obtain from Ms.
Wells’ ex-husband, who is now serving prison time for his

conduct in connection with his business relationship with the
Plaintiff.

Ms. Wells has produced all of her requested financial
information and has voluntarily answered an Information Subpoena
and provided a recent appraisal of the value of her home. Short
of a deposition, there is no more information for Ms. Wells to
provide.

The second issue is that there is a lis pendens filed against
the property by the Plaintiff. The Plaintiff did not seek
permission to file the lis pendens against property at least in

part owned by Ms. Wells, who is not a judgment debtor to the
Plaintiff.

Ms. Wells has need to refinance the property for the sole

purpose of reducing her monthly housing cost. She is neither
taking out a penny nor increasing the amount of the obligation
against the home by this refinance. She has everything all

lined up to do the deal and save several hundreds of dollars per
month but for the lis pendens on the property and the judgment
against her former husband.
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As part of the conversation this date between Plaintiff's
counsel and myself, Plaintiff’s counsel requested an adjournment
of the settlement conference inasmuch as he has yet to receive
financial information from Mr. Wells and his business. If that

were the only issue at settlement, we would immediately consent
to the request.

However, in response to the request to work with Ms. Wells to
allow her to refinance the property, Plaintiff refused to work

with the undersigned to allow the refinance to go through. That
refinance is crucial to settlement.

If the Court has the time to schedule a telephone conference on
the issue, it would be much appreciated. While I agree that a
full settlement is not likely to happen with the Plaintiff
receiving the financial information from Mr. Wells, the refusal
to work with the undersigned to allow the refinance to go
through is bad faith and will cause untold difficulties in
actually reaching a settlement in the case.

Respectfully submitted,

     

DENBEAUX }& DENBEAUX

By: Joshua W. Denbeaux
JWD: ve

Cc: Gregory Smith
Joanne Wells
